Case 1:25-cv-10814-WGY   Document 103-1   Filed 05/07/25   Page 1 of 50




                     Exhibit A
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 1 of 49
                                                                      2 of
                                                                         PageID
                                                                           50   #:
                                   1358



                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND

 STATE OF RHODE ISLAND; STATE           )
 OF NEW YORK; STATE OF HAWAI‘I;         )
 STATE OF ARIZONA; STATE OF             )
 CALIFORNIA; STATE OF                   )
 COLORADO; STATE OF                     )
 CONNECTICUT; STATE OF                  )
 DELAWARE; STATE OF ILLINOIS;           )
 STATE OF MAINE; STATE OF               )
 MARYLAND; COMMONWEALTH OF              )
 MASSACHUSETTS; PEOPLE OF               )
 THE STATE OF MICHIGAN; STATE           )
 OF MINNESOTA; STATE OF                 )
 NEVADA; STATE OF NEW JERSEY;           )
                                        )
 STATE OF NEW MEXICO; STATE OF
                                        )
 OREGON; STATE OF VERMONT;
                                        )
 STATE OF WASHINGTON; STATE             )
 OF WISCONSIN,                          )
                                        )
          Plaintiffs,                   )
                                        )
          v.                            )     C.A. No. 1:25-cv-128-JJM-LDA
                                        )
 DONALD J. TRUMP, in his official       )
 capacity as President of the United    )
 States; INSTITUTE OF MUSEUM            )
 AND LIBRARY SERVICES; KEITH E. )
 SONDERLING, in his official capacity )
                                        )
 as Acting Director of the Institute of
                                        )
 Museum and Library Services;           )
 MINORITY BUSINESS AND                  )
 DEVELOPMENT AGENCY; MADIHA )
 D. LATIF, in her official capacity as  )
 Deputy Under Secretary of Commerce     )
 for Minority Business Development;     )
 HOWARD LUTNICK, in his official        )
 capacity as Secretary of Commerce;     )
 FEDERAL MEDIATION AND                  )
 CONCILIATION SERVICE;                  )
 GREGORY GOLDSTEIN, in his official )
 capacity as Acting Director of the     )
                                        )
 Federal Mediation and Conciliation
                                        )
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 2 of 49
                                                                      3 of
                                                                         PageID
                                                                           50   #:
                                   1359



 Service; OFFICE OF MANAGEMENT             )
 AND BUDGET; RUSSELL T.                    )
 VOUGHT, in his official capacity as       )
 Director of the Office of Management      )
 and Budget,                               )
                                           )
                                           )
        Defendants.

                            MEMORANDUM AND ORDER

 JOHN J. MCCONNELL, JR., United States District Court Chief Judge.

       Once again, this Court is confronted with a legal challenge by various states,

 against an Executive Order that attempts to dismantle congressionally sanctioned

 agencies and ignores congressionally appropriated funds. Here, the targeted federal

 agencies support our libraries, museums, minority business enterprises, and the well-

 respected federal mediation services.         This Executive Order violates the

 Administrative Procedures Act (“APA”) in the arbitrary and capricious way it was

 carried out. It also disregards the fundamental constitutional role of each of the

 branches of our federal government; specifically, it ignores the unshakable principles

 that Congress makes the law and appropriates funds, and the Executive implements

 the law Congress enacted and spends the funds Congress appropriated.

       Plaintiffs are twenty-one states (the “States”) who move for a preliminary

 injunction,1 seeking to restrain the Defendants from implementing the President’s

 Executive Order 14238, “Continuing the Reduction of the Federal Bureaucracy”

 (“Reduction EO”), as it applies to three federal agencies—the Institute of Museum



       1 The States initially moved for a temporary restraining order but, upon the

 parties’ stipulation, that motion was converted to one for a preliminary injunction.
 See ECF No. 31; see also Text Order, Apr. 10, 2025 (entering the parties’ stipulation).

                                           2
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 3 of 49
                                                                      4 of
                                                                         PageID
                                                                           50   #:
                                   1360



 and Library Services (“IMLS”), the Minority Business Development Agency

 (“MBDA”), and the Federal Mediation and Conciliation Service (“FMCS”). ECF No. 3.

 The States assert that the Defendants’ efforts to carry out the Reduction EO’s

 mandates violate: (1) the APA; (2) Separation of Powers principles; and (3) the Take

 Care Clause of the United States Constitution. Id. at 2. The Defendants oppose the

 motion on various jurisdictional grounds and assert that the States have not satisfied

 the elements required for entitlement to preliminary relief. ECF No. 41. For the

 reasons stated below, the Court GRANTS the States’ motion.

 I.    BACKGROUND

       The Court will first provide some exposition on the three congressionally

 created agencies at the center of this dispute—IMLS, MBDA, and FMCS—before

 outlining the travel of the case.

       A. The Agencies

              1. IMLS

       In 1996, Congress established IMLS as an agency within the National

 Foundation on the Arts and Humanities. 20 U.S.C. § 9102. The agency’s mission is

 to “to advance, support, and empower America’s museums, libraries, and related

 organizations through grantmaking, research, and policy development.” INST. OF

 MUSEUM     AND   LIBR. SERVICES,     FY 2022-2026 STRATEGIC PLAN 3 (2022),

 https://www.imls.gov/sites/default/files/2022-02/imls-strategic-plan-2022-2026.pdf.

 Per statute, ILMS must have an Office of Museum Services and an Office Library

 Services. 20 U.S.C. § 9102(b). IMLS must also “regularly support and conduct, as




                                           3
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 4 of 49
                                                                      5 of
                                                                         PageID
                                                                           50   #:
                                   1361



 appropriate, policy research, data collection, analysis and modeling, evaluation, and

 dissemination of information to extend and improve the Nation’s museum, library,

 and information services.” Id. § 9108(a). The agency is also tasked with disbursing

 and expending appropriated funds and other forms of assistance to support museums

 and libraries across U.S. states and territories. Id. §§ 9121-9165 (libraries), §§ 9171–

 9176 (museums). IMLS administers several competitive grant programs each year.

 See, e.g., id. § 9165 (Laura Bush 21st Century Librarian Program); id. § 9161 (Native

 American Library Services Grant Program); id. § 9162 (National Leadership Grants

 for Libraries Program).

              2. MBDA

       In 2021, Congress created MBDA as an agency within the Department of

 Commerce. 15 U.S.C. § 9502. The agency’s purpose is to “promote the growth, global

 competitiveness, and the inclusion of minority-owned businesses through data,

 research, evaluation, partnership programs, and federal financial assistance

 programs.” U.S. DEP’T OF COMMERCE, MBDA, FISCAL YEAR 2025 CONGRESSIONAL

 JUSTIFICATION     16      (2024),   https://www.commerce.gov/sites/default/files/2024-

 03/MBDA-FY2025-Congressional-Budget-Submission.pdf. The Under Secretary of

 Commerce for Minority Business heads the MBDA. 15 U.S.C. § 9502(b)(1).

       The MBDA Business Center Program is a program under the MBDA, id.

 § 9523(a)(1), that creates “a national network of public-private partnerships” to: (1)

 help minority business enterprises with “accessing capital, contracts, and grants” and

 “creating and maintaining jobs”; (2) “provide counseling and mentoring to minority




                                            4
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 5 of 49
                                                                      6 of
                                                                         PageID
                                                                           50   #:
                                   1362



 business enterprises”; and (3) “facilitate the growth of minority business enterprises

 by promoting trade.” Id. § 9522.     Under the MBDA Business Center Program, the

 MBDA Under Secretary must “make Federal assistance awards to eligible entities to

 operate MBDA Business Centers”—which are tasked with providing “technical

 assistance and business development services, or specialty services, to minority

 business enterprises.” Id. § 9523(3). Tangentially related to the MBDA Business

 Centers is the MBDA’s Office of Business, which is administered by a Director. Id.

 § 9502(d)(2).

                 3. FMCS

       FMCS is the oldest of the three agencies, established by Congress in the Taft-

 Hartley Act of 1947. See Labor Management Relations Act, 1947, Pub. L. No. 80-101,

 § 202, 61 Stat. 136. Congress charged this agency with “assist[ing] parties to labor

 disputes in industries affecting commerce to settle such disputes through conciliation

 and mediation.” 29 U.S.C. § 173(a). Thus, the statute instructs FMCS to perform a

 wide range of functions related to resolving labor disputes, including: (1) conducting

 grievance mediations as a “last resort and in exceptional cases” to resolve “disputes

 arising over the application or interpretation of an existing collective-bargaining

 agreement,” id. § 173(d), and (2) providing labor mediation and conciliation services

 “to assist parties to labor disputes affecting commerce to settle such disputes,” see id.

 § 173(a)-(c). FMCS also provides other services to facilitate the resolution of labor

 such as “appoint[ing] arbitration panels and arbitrators; conduct[ing] skills

 development and conflict resolution training; and verif[ying] signed union




                                            5
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 6 of 49
                                                                      7 of
                                                                         PageID
                                                                           50   #:
                                   1363



 authorization cards when employers agree to use that method to recognize a union.”

 ECF No. 1 ¶ 124.

       B. Executive Order 14238

       On March 14, 2025, the President issued the Reduction EO, which directs

 seven federal agencies—including IMLS, MBDA, and FMCS—to: (1) eliminate their

 “non-statutory components and functions . . . to the maximum extent consistent with

 applicable law,” and (2) “reduce the performance of their statutory function and

 associated personnel to the minimum presence and function required by law.” Exec.

 Order No. 14238 § 2(a), 90 Fed. Reg. 13043 (Mar. 14, 2025). The Reduction EO

 instructs the head of each of these agencies to submit, within seven days, a report to

 the Director of the Office of Management and Budget (OMB) “confirming full

 compliance with this order and explaining which components or functions of the

 government entity, if any, are statutorily required and to what extent.” Id. § 2(b).

 Further, the Reduction EO outlines that, upon review of budget requests these

 agencies submit, the OMB Director “shall, to the extent consistent with applicable

 law and except insofar as necessary to effectuate an expected termination, reject

 funding requests . . . to the extent they are inconsistent with this order.” Id. § 2(c).

       A day after issuing the Reduction EO, the President signed the Full-Year

 Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, 139 Stat. 9

 (2025)—in which Congress funded IMLS, MBDA, and FMCS through September 30,

 2025 at the same level it funded these agencies in fiscal year 2024.                  See

 Continuing Appropriations Act § 1101(a)(2), (8). In 2024, Congress appropriated:




                                             6
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 7 of 49
                                                                      8 of
                                                                         PageID
                                                                           50   #:
                                   1364



 (1) $294,800,000 to IMLS “[f]or carrying out the Museum and Library Services Act of

 1996 and the National Museum of African American History and Culture Act,”

 Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. D, tit. 4, 138

 Stat. 460; (2) appropriated $53,705,000 to FMCS “to carry out the functions vested in

 it by the” Taft-Hartley Act, id.; and (3) $68,250,000 “[f]or necessary expenses of the

 Minority Business Development Agency in fostering, promoting, and developing

 minority business enterprises, as authorized by law.” Id., Pub. L. No. 118-42, div. C,

 tit. 1.

           C. Impact of Executive Order 14238

           Since the issuance of the Reduction EO, leadership of IMLS, MBDA, and FMCS

 have taken several actions in furtherance of the EO’s mandates. At IMLS, the

 agency’s leadership held an agency-wide town hall in which they informed employees

 that: (1) they anticipated the agency would be stripped “down to the studs”; (2)

 employees should anticipate dismissal soon; and (3) a reduction in force (“RIF”) plan

 would likely be implemented soon thereafter. ECF No. 3-40 ¶ 6. A few weeks later,

 IMLS’s Director of Human Resources told staff that the “entirety of IMLS” would be

 placed on administrative leave and all IMLS grants would be terminated, “with the

 potential exception of the Grants to States Program.” Id. ¶ 11.

           Additionally, the Director of Human Resources indicated that all but a handful

 of staff members should expect a RIF in 30 days or less. Id. That same day, IMLS

 emailed state librarians notifying them that “IMLS received word that all staff are

 going to be placed on administrative leave,” and staff accordingly would “not be able




                                              7
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 8 of 49
                                                                      9 of
                                                                         PageID
                                                                           50   #:
                                   1365



 to work or respond to your emails.” ECF No. 1-2. IMLS later recalled twelve staff

 members from administrative leave. ECF No. 3-40 ¶ 15. Prior to the significant

 reduction in personnel, thirty-five employees were charged with administering

 IMLS’s grant programs. Id. ¶ 17. Only four of the twelve employees recalled from

 administrative leave have grant administering experience, of whom only one

 administered the Grants to States Program. Id. ¶ 20. Further, none of the twelve

 employees works in IMLS’s Office of Research and Evaluation, rendering it

 essentially defunct. Id. ¶ 22. And as of now, IMLS has terminated well over 1,000

 grants—with the same boilerplate notice letter stating that the grant was “‘no longer

 consistent with the [agency’s] priorities’ and that the President’s March 14, 2025,

 executive order ‘mandates that the IMLS eliminate all non-statutorily required

 activities and functions.’” ECF No. 35-3 ¶ 5; see also ECF Nos. 35-5 at 10-11, 35-6

 at 6-7, 35-8 at 5-20, 35-9 at 4-5 (IMLS grant termination letters that grantees

 received).

       As to MBDA, the agency placed all but five of its employees2 on paid

 administrative leave shortly after the Reduction EO’s issuance. ECF No. 3-41 ¶ 5.

 And now, those five employees have since been reassigned to positions outside the

 MBDA. ECF No. 35-4 ¶ 5. MBDA also announced that it was implementing a RIF.

 ECF No. 1-3. And the agency appears to have since terminated all preexisting MBDA




       2 Those remaining employees are the Deputy Under Secretary of Commerce for

 Minority Business Development, the Chief Operating Officer, the Chief of the Office
 of Legislative, Education, and Intergovernmental Affairs, a senior advisor, and a
 budget analyst. See ECF No. 3-41 ¶ 5.

                                          8
CaseCase
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57
                                      103-1
                                          FiledFiled
                                                05/06/25
                                                     05/07/25
                                                            PagePage
                                                                 9 of 10
                                                                      49 of
                                                                         PageID
                                                                            50 #:
                                   1366



 grant awards in furtherance of the Reduction EO. See ECF No. 45-1 ¶ 4; see also

 ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-6 at 2. The staff

 terminated include employees responsible for maintaining MBDA’s informational

 clearinghouse, which is central to the agency’s statutorily mandated responsibility to

 collect and share data related to minority enterprise. ECF No. 3-41 ¶ 13. Further,

 the agency has ceased several programs and services, including its Minority Business

 Advisory Council. Id.

        Lastly, FMCS placed almost all of its over 200 employees on administrative

 leave in the aftermath of the Reduction EO’s issuance. ECF No. 3-42 ¶ 4-7. Now,

 only about ten to fifteen FMCS employees—all of whom are based in the agency’s

 D.C. headquarters—remain on the job. See ECF No. 3-26 ¶ 17. And FMCS has

 started a RIF plan to terminate all but those ten to fifteen remaining employees.

 ECF No. 3-42 ¶ 7; see also Jory Heckman Federal labor mediation agency cuts staff

 down    to   ‘skeleton    crew’   (Mar.    26,    2025),   FED.    NEWS     NETWORK,

 https://federalnewsnetwork.com/workforce/2025/03/federal-labor-mediation-agency-

 cuts-staff-down-to-skeleton. Additionally, because the agency has only a fraction of

 its personnel remaining, it appears that “[n]early all of services [FMCS had]

 provided—mediation for collective bargaining, grievances, employment disputes,

 EEOC complaints, and trainings with both unions and management to promote labor

 peace—are no longer going to be provided.” Heckman, supra.




                                           9
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 10 of11
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1367



       It is these series of actions the Defendants have taken to implement the

 Reduction EO as to IMLS, MBDA, and FMCS, that has prompted the States to seek

 a preliminary injunction enjoining the Defendants from giving effect to that EO.

 II.   STANDARD OF REVIEW

       “A request for a preliminary injunction is a request for extraordinary relief.”

 Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022). “To secure a preliminary

 injunction, a plaintiff must show ‘(1) a substantial likelihood of success on the merits,

 (2) a significant risk of irreparable harm if the injunction is withheld, (3) a favorable

 balance of hardships, and (4) a fit (or lack of friction) between the injunction and the

 public interest.’” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (quoting

 Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003)). In evaluating

 whether the plaintiffs have met the most important requirement of likelihood of

 success on the merits, a court must keep in mind that the merits need not be

 “conclusively determine[d];” instead, at this stage, decisions “are to be understood as

 statements of probable outcomes only.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d

 86, 93 (1st Cir. 2020) (partially quoting Narragansett Indian Tribe v. Guilbert, 934

 F.2d 4, 6 (1st Cir. 1991)). “To demonstrate likelihood of success on the merits,

 plaintiffs must show ‘more than mere possibility’ of success–rather, they must

 establish a ‘strong likelihood’ that they will ultimately prevail.” Sindicato

 Puertorriqueño de Trabajadores, SEIU Local 1996 v. Fortuño, 699 F.3d 1, 10 (1st Cir.

 2012) (per curiam) (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir.

 2010)).




                                            10
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 11 of12
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1368



 III.   DISCUSSION

        A. Jurisdiction

              1.     Standing

        The Defendants argue that the States lack standing to seek relief that would

 prohibit OMB from implementing the Reduction EO with respect to the four other

 agencies that are included in that Order but are not the subject to this lawsuit. ECF

 No. 41 at 9. But the States do not dispute that they cannot seek relief as to those four

 agencies not included in their Complaint. ECF No. 44 at 4. Instead, the States affirm

 that the claims outlined in their Complaint and preliminary injunction motion

 encompass the “Defendants’ actions as to the IMLS, MBDA, and FMCS.” Id. Thus,

 while the States’ request that the Court enjoin the Defendants from “implementing

 the Closure Order and the Closure Decisions” can admittedly be read as all

 encompassing, see ECF No. 1 at 53, the States have made it clear that the specific

 relief they seek is for the Court to enjoin the Defendants from implementing the

 Reduction EO as to the IMLS, MBDA, and FMCS. See ECF No. 3 at 2 (“Plaintiff

 States move for issuance of an order . . . restraining Defendants from implementing

 actions in accordance with [the Reduction EO] as they relate to the Institute of

 Museum and Library Services (IMLS), the Minority Business Development Agency

 (MBDA), and the Federal Mediation and Conciliation Service (FMCS) . . ..”) (emphasis

 added); see also Tr. of Prelim. Inj. H’rg. 43, ECF No. 48 (States explaining that “the

 relief that we’re seeking is to enjoin the closure decisions and to enjoin these three




                                           11
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 12 of13
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1369



 agencies’ application and implementation of the Executive Order.”). Accordingly,

 equitable relief against non-parties is not at issue here.

              2.     Ripeness

       Next, the Defendants contend that nearly all the States’ claims of potential

 injury from “future delays or failure to receive IMLS, MBDA, and FMCS funds and

 services” are speculative and thus are not ripe for the Court’s review. ECF No. 41

 at 11. But the unrefuted record before the Court reveals that the States are relying

 on more than mere speculation when asserting harms—current or imminent—

 stemming from the Defendants’ efforts to significantly reduce agency services and

 personnel under the Reduction EO.        For example, on April 9, 2025, an MBDA

 employee received a RIF notice from the Office of the Deputy Secretary of Commerce

 that plainly stated that “[t]he Department is abolishing all positions within MBDA.”

 ECF No. 35-4 at 4. According to that MBDA employee, only five MBDA employees

 were not placed on administrative leave and have since been reassigned to positions

 outside the MBDA. See id. at ¶ 5. It is unclear how it is speculative for the States to

 precipitate delays in funds and services from the MBDA—and harms flowing

 therefrom—when the unrebutted record reveals that MBDA’s workforce has been

 reduced to zero. States receiving MBDA funding have stated any pause to such

 funding will prompt cuts to essential programming. See, e.g., ECF No. 3-11 ¶¶ 13,

 20; ECF No. 3-12 ¶¶ 9, 16. Despite many opportunities to do so, the Defendants have

 presented no evidence suggesting that these MBDA funds and services can still be

 administered, in a timely fashion or at all, in the absence of MBDA’s workforce. And




                                           12
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 13 of14
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1370



 now, recent developments show that all existing MBDA grants were terminated

 based, in part, on the Reduction EO’s mandate for the agency to eliminate all non-

 statutorily required activities and functions. See ECF No. 45-1 ¶ 4; see also ECF Nos.

 45-2, 45-3, 45-4, 45-5, 45-6, 45-7 (Notice of grant terminations to MBDA grantees in

 Arizona, Hawai‘i, Wisconsin, and Rhode Island).

       As to FMCS, the agency announced the cessation of public sector conciliation

 services as of April 18, 2025, ECF No. 1-4, which are services the States have attested

 to regularly using and benefiting from. See, e.g., ECF No. 3-39 ¶¶ 7-8; ECF No. 3-26

 ¶¶ 13(a), 22-23; ECF No. 3-30 ¶ 10. And as to the IMLS, the agency’s headcount was

 reduced from seventy-seven to twelve employees3 in the aftermath of the Reduction

 EO’s issuance. ECF No. 3-40 ¶¶ 4, 13. An IMLS employee attested, based on their

 experience, that the twelve remaining employees “will not be able to administer the

 volume of existing grants and incoming grant applications for the upcoming year

 [and] [a]s a result . . . no new grants will be awarded, and most existing grants will

 be terminated.” Id. ¶ 21. Now, many of the States have attested to being compelled

 to cut staff and shut down programs due to the grant terminations and missed grant

 payments in the wake of the agency’s apparent implementation of the Reduction EO.

 See, e.g., ECF No. 3-33 ¶¶ 4-10, 20, 22 (Washington); ECF No. 3-3 ¶¶ 16, 22, 23, 31–

 32 (California); ECF No. 3-4 ¶¶ 17–19, 31 (Connecticut); ECF No. 35-5 ¶¶ 10-12

 (Maryland). The States have presented compelling evidence illustrating that the




       3 All but twelve IMLS employees were placed on administrative leave.        ECF
 No. 40 ¶ 14.

                                           13
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 14 of15
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1371



 harms stemming from the dismantling of IMLS, MBDA, and FMCS are already

 unfolding or are certain to occur, in light the significant reduction in personnel

 available and competent to administer these agencies’ funds and services and the

 elimination of certain programs that served the States. Accordingly, the States’

 claims are sufficiently ripe for the Court’s review.

              3.     Subject Matter Jurisdiction

                     a. The Tucker Act

       Next, the Defendants argue that the Court lacks jurisdiction over the States’

 APA claims related to the Defendants grant terminations because, under the Tucker

 Act, Congress vested the Court of Claims with exclusive jurisdiction over such claims.

 ECF No. 41 at 14. The Court disagrees. The Tucker Act “provides jurisdiction and

 waiver of immunity in the Claims Court so long as the action: 1) is against the United

 States; 2) seeks relief over $10,000; and 3) is founded upon the Constitution, federal

 statute, executive regulation or governmental contract.” Vill. W. Assocs. v. Rhode

 Island Hous. & Mortg. Fin. Corp., 618 F. Supp. 2d 134, 138 (D.R.I. 2009) (citing 28

 U.S.C. § 1491(a)). To support the contention that the States’ challenges to the grant

 terminations are claims sounding in contract, the Defendants rely primarily on the

 Supreme Court’s ruling on an emergency stay application in Department of

 Education v. California, 145 S. Ct. 966 (2025) (per curiam).

        In California, the Supreme Court stayed a district court’s temporary

 restraining order that enjoined the Government from terminating education-related

 grants after finding that the Government was “likely to succeed in showing the

 District Court lacked jurisdiction to order the payment of money under the APA.” Id.


                                            14
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 15 of16
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1372



 at 968. The Supreme Court highlighted that the APA’s sovereign immunity waiver

 does not apply to claims seeking “money damages,” id. (citing 5 U.S.C. § 702), then

 explained that the APA’s immunity waiver “does not extend to orders ‘to enforce a

 contractual obligation to pay money’ along the lines of what the District Court ordered

 . . .” Id. (quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212

 (2002)). The Supreme Court highlighted that the “Tucker Act grants the Court of

 Federal Claims jurisdiction over suits based on ‘any express or implied contract with

 the United States.’” Id. (quoting 28 U.S.C. § 1491(a)(1)).

        But California does not render this Court an improper forum for the States’

 claims under the APA.        To start, California’s precedential value is limited,

 considering that the Supreme Court issued the decision on its emergency docket, in

 the context of an application for a stay pending appeal, and based on “barebones

 briefing, no argument, and scarce time for reflection.” 145 S. Ct. at 969 (Kagan, J.,

 dissenting); see also Merrill v. Milligan, 142 S. Ct. 879 (2022) (Kavanaugh, J.,

 concurring) (“The principal dissent’s catchy but worn-out rhetoric about the ‘shadow

 docket’ is similarly off target. The stay will allow this Court to decide the merits in

 an orderly fashion—after full briefing, oral argument, and our usual extensive

 internal deliberations—and ensure that we do not have to decide the merits on the

 emergency docket. To reiterate: The Court’s stay order is not a decision on the

 merits.”).

        Further, the California stay order does not displace governing law that guides

 the Court’s approach to discerning whether the States’ claims are essentially contract




                                           15
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 16 of17
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1373



 claims in order to direct jurisdiction to the Court of Claims. “Whether a claim is ‘at

 its essence’ contractual for the Tucker Act ‘depends both on the source of the rights

 upon which the plaintiff bases its claims, and upon the type of relief sought (or

 appropriate).’” Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1106

 (D.C. Cir. 2022) (quoting Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982)).

 The Court first addresses the States’ source of rights; here the States bring claims

 under the APA and the United States Constitution. See ECF No. 1 at 44-52. As the

 Defendants recognize, the States are not “challeng[ing] specific grant terminations

 [or] specific payments they claim to be entitled to.” ECF No. 41 at 21. Rather, the

 States’ suit challenges each agency’s actions implementing a categorical policy to

 eliminate their “non-statutory components and functions” and “reduce the

 performance of their statutory function and associated personnel” under the

 Reduction EO. See Exec. Order No. 14238 § 2(a), 90 Fed. Reg. 13043 (Mar. 14, 2025).

 True, some of the harms the States allege because of these decisions include the

 termination of certain grant agreements. But nowhere are the parties quibbling over

 whether the States subject to those grant terminations breached the terms or

 conditions of the underlying agreements as to transform this action into one sounding

 in contract. Rather, the States’ challenges are grounded on whether the Defendants’

 actions exceeded the bounds of their statutory or constitutional authorities.

       The Court now turns to the relief the States seek. The Court of Claims’

 exclusive jurisdiction under the Tucker Act does not arise “merely because [a

 plaintiff] hints at some interest in a monetary reward from the federal government




                                           16
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 17 of18
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1374



 or because success on the merits may obligate the United States to pay the

 complainant.” Crowley Gov’t Servs., Inc., 38 F.4th at 1108 (quoting Kidwell v. Dep’t

 of Army, 56 F.3d 279, 284 (D.C. Cir. 1995)). Indeed, the Supreme Court reaffirmed,

 in California, that “a district court’s jurisdiction ‘is not barred by the possibility’ that

 an order setting aside an agency’s action may result in the disbursement of funds.”

 California, 145 S. Ct. at 968 (quoting Bowen v. Massachusetts, 487 U.S. 879, 910

 (1988)).   The States seek equitable relief to enjoin the Defendants’ actions

 implementing the Reduction EO—not specific performance of any grant agreements.

 True, the scope of the relief the States seek implicates enjoining the unlawful

 terminations of their grants. But such relief “is not a claim for money damages,”

 precluded under the APA—even though “it is a claim that would require the payment

 of money by the federal government.” Bowen, 487 U.S. at 894. That is because money

 damages are a remedy at law that “provide relief that substitutes for that which ought

 to have been done.”      Id. at 910.    Whereas specific relief does not constitute a

 “substitute remed[y] at all, but attempt[s] to give the plaintiff the very thing to which

 he was entitled.” Id. at 895 (citations omitted). Here, the States “seek access to funds

 they are presently entitled to, ‘rather than money in compensation for the losses,

 whatever they may be, that [Plaintiffs] will suffer or ha[ve] suffered by virtue of the

 withholding of those funds.’” Climate United Fund v. Citibank, N.A., No. 25-CV-698

 (TSC), 2025 WL 1131412, at *10 (D.D.C. Apr. 16, 2025) (quoting Bowen, 487 U.S.

 at 895).




                                             17
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 18 of19
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1375



         Accordingly, because the States’ challenges are based on alleged statutory

 and constitutional violations and the relief they seek is equitable, the essence of their

 claims are not contractual, so they are not subject to the exclusive jurisdiction of the

 Court of Claims under the Tucker Act. Crowley, 38 F.4th at 1106.

                     b. The Civil Service Reform Act

       Next, the Defendants assert that the Court lacks jurisdiction to consider the

 States’ challenges to the placement of IMLS, MBDA, and FMCS personnel on

 administrative leave because, under the Civil Service Reform Act (“CSRA”),

 “Congress made the Office of Special Counsel [OSC], the Merit Systems Protection

 Board (“MSPB”), and the Federal Labor Relations Authority (“FLRA”) the exclusive

 means for federal employees . . . and other interested parties to raise challenges to

 final, non-discrimination-related employment actions, even when those disputes

 involve constitutional claims.”     ECF No. 41 at 19-20 (citations omitted).         The

 Defendants urge that “the APA does not permit litigants to forestall properly

 applicable channeling regimes that Congress established.” Id. at 20.

       There is no dispute that the CSRA “established a comprehensive system for

 reviewing personnel action taken against federal employees.”           United States v.

 Fausto, 484 U.S. 439, 455 (1988). But to determine whether the CSRA’s statutory

 review scheme precludes district court jurisdiction, the Court must consider whether:

 (1) “the ‘statutory scheme’ displays a ‘fairly discernible’ intent to limit jurisdiction,”

 and (2) “the claims at issue ‘are of the type Congress intended to be reviewed within

 th[e] statutory structure.’” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561

 U.S. 477, 489 (2010) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207,


                                            18
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 19 of20
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1376



 212 (1994)). As to the second prong, the Court must presume that Congress does not

 intend to limit jurisdiction “if ‘a finding of preclusion could foreclose all meaningful

 judicial review’; if the suit is ‘wholly collateral to a statute’s review provisions’; and if

 the claims are ‘outside the agency’s expertise.’” Id. (quoting Thunder Basin, 510 U.S.

 at 212-213).

        The Court does not observe any jurisdiction bar within the CSRA’s statutory

 scheme that would apply to the States; the scheme, at most, contemplates the

 availability of judicial review of federal employees’ disputes over employment

 decisions. Specifically, the CSRA’s “comprehensive and exclusive” statutory scheme

 “protects covered federal employees against a broad range of personnel practices, and

 ... supplies a variety of causes of action and remedies to employees when their rights

 under the statute are violated.” Grosdidier v. Chairman, Broad. Bd. of Governors,

 560 F.3d 495, 497 (D.C. Cir. 2009) (emphasis added). Thus, “[a] federal employee

 generally may not pursue alternative routes of judicial review, such as by filing a civil

 action in district court under the APA.” Rodriguez v. United States, 852 F.3d 67, 82

 (1st Cir. 2017) (emphasis added). Here, none of the plaintiffs are federal employees

 so the Court need not review whether their claims fall under the ambit of the CSRA.

        As to the second prong, a finding of CSRA preclusion would foreclose all

 meaningful judicial review over the States’ claims because they cannot bring their

 claims under CSRA’s statutory scheme.             Further, the States’ challenges to the

 Defendants actions to implement the Reduction EO are plainly outside the MSPB’s

 expertise.     While the States’ challenges implicate the Defendants’ decisions to




                                              19
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 20 of21
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1377



 terminate or place employees on leave, such challenges are not the run of the mill

 challenges to adverse employment actions with which the MSPB may be familiar.

 Instead, the States’ claims raise constitutional and statutory challenges to various

 agencies’ decisions effectuating “the termination of agency functions, the failure to

 carry out statutory duties, [and] the refusal to expend appropriations.” ECF No. 44

 at 11. The MSPB and OSC do not have the jurisdiction to review the congressional

 appropriation issues raised here. See Widakuswara v. Lake, No. 1:25-CV-1015-RCL,

 2025 WL 1166400, at *11 n.22 (D.D.C. Apr. 22, 2025)4 (“Widakuswara II”) (“the MSPB

 and OSC have no jurisdiction to review the cancellation of congressional

 appropriations.”). And the States’ remaining APA and constitutional claims—under

 separation of powers principles and the Take Care Clause—“raise[s] standard

 questions of administrative and constitutional law, detached from any issues related

 to federal employment.” Id. (quoting Axon Enter., Inc. v. FTC, 598 U.S. 175, 194

 (2023)) (internal quotation marks omitted). Thus, the States’ claims fall outside the

 “competence and expertise” of the administrative bodies that handle employee

 grievance arising under the CSRA.

       Lastly, for similar reasons, the States’ claims are “wholly collateral” to CSRA’s

 review provisions because they invoke constitutional and administrative questions




       4 The D.C. Circuit administratively stayed the preliminary injunction issued

 in Widakuswara II as to only the part of the order to restore grants but specified that
 “[t]he purpose of this administrative stay is to give the court sufficient opportunity to
 consider the emergency motions for stay pending appeal and should not be construed
 in any way as a ruling on the merits of those motions.” Widakuswara v. Lake, No. 25-
 5144 (D.C. Cir. May 1, 2024).

                                            20
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 21 of22
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1378



 about the propriety of the agencies’ actions to curtail their respective statutory and

 discretionary functions—i.e., claims that do not necessarily relate to CSRA’s focus on

 the review of federal employee grievances. Accordingly, the CSRA statutory scheme

 does not reflect Congress’s intent to preclude the Court’s jurisdiction to review the

 States’ claims here.

       B. Likelihood of Success on the Merits

              1. APA Claims

       The APA allows judicial review of “final agency action for which there is no

 other adequate remedy in a court.” 5 U.S.C. § 704. The States assert that the

 Defendants’ implementation of the Reduction EO violates the APA because such

 actions are arbitrary and capricious and contrary to law. Before reaching the merits,

 the Court must first address the Defendants’ contentions that the States’ claims

 cannot be subject to judicial review under the APA because the agency actions at

 issue are neither discrete nor final.

                     a. “Programmatic” Challenges

       The Defendants contend that the States do not challenge “discrete agency

 action,” “but rather a collection of grant terminations, personnel actions, and

 programmatic activities.” ECF No. 41 at 20-21. In making such arguments, the

 Defendants analogize the States’ challenges as the type of “programmatic challenge”

 that the Supreme Court dispelled in Lujan v. National Wildlife Fed’n, 497 U.S. 871

 (1990). See ECF No. 41 at 20-22. In Lujan, the “programmatic challenge” that the

 Supreme Court dispelled “was an attempt to seek ‘wholesale’ ‘programmatic




                                          21
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 22 of23
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1379



 improvements’ ‘by court decree’ by ‘couch[ing]’ ‘[the Bureau of Land Management’s]

 land withdrawal review program’ as an ‘unlawful agency action.’” New York v.

 Trump, 133 F.4th 51, 67 (1st Cir. 2025) (quoting Norton v. S. Utah Wilderness All.,

 542 U.S. 55, 64 (2004)). But the Supreme Court recognized in Lujan that “if there is

 in fact some specific order or regulation, applying some particular measure across the

 board to all individual classification terminations and withdrawal revocations . . . it

 can of course be challenged under the APA.” 497 U.S. at 890 n.2.        Here, the States’

 claims are closer to the latter type of APA challenge; the States have underscored

 that they are challenging the Agency Defendant’s adoption of a discrete, categorical

 policy that applies the measure “of eliminating all functions and components not

 mandated by statute, and of dramatically reducing their remaining functions” across

 the board. See ECF No. 44 at 14-15. Accordingly, the States’ APA challenges are of

 the type deemed proper under Lujan.

                     b. Final Agency Action

       Now, the Court must address whether there was “final agency action” to permit

 judicial review under the APA. 5 U.S.C. § 704. “[A]gency action includes the whole

 or a part of an agency rule, order, license, sanction, relief, or the equivalent or denial

 thereof, or failure to act.” Id. § 551(13). “Agency action” is not an “all-encompassing”

 term that authorizes the Court to “exercise ‘judicial review [over] everything done by

 an administrative agency.’” Indep. Equip. Dealers Ass’n v. E.P.A., 372 F.3d 420, 427

 (D.C. Cir. 2004) (quoting Hearst Radio, Inc. v. FCC, 167 F.2d 225, 227 (D.C. Cir.

 1948)). Still, the term has a broad sweep—covering “comprehensively every manner




                                            22
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 23 of24
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1380



 in which an agency may exercise its power.” Whitman v. Am. Trucking Ass’ns, 531

 U.S. 457, 478 (2001) (citing FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 238 n.7

 (1980)). Relevantly, “[t]he term ‘action’ encompasses an agency’s ‘policy or routine

 practice.’” Am. Fed’n of Tchrs. v. Bessent, No. CV DLB-25-0430, 2025 WL 895326, at

 *13 (D. Md. Mar. 24, 2025) (quoting Amadei v. Nielsen, 348 F. Supp. 3d 145, 164

 (E.D.N.Y. 2018)). An agency action is final if: (1) it marks the “‘consummation’ of the

 agency’s decisionmaking process,” and (2) the action determines rights or obligations

 or creates legal consequences. Harper v. Werfel, 118 F.4th 100, 116 (1st Cir. 2024)

 (citing Bennett v. Spear, 520 U.S. 154, 177 (1997)). The Court is to apply the “finality”

 requirement in a “flexible” and “pragmatic” fashion. Abbott Lab’ys v. Gardner, 387

 U.S. 136, 149-151 (1967). For the purposes of this analysis, it is crucial to lay out the

 actions that occurred at IMLS, MBDA, and FMCS close to the Reduction EO’s

 issuance.

        At IMLS, an employee described that the agency’s leadership held a town hall

 during which they informed staff that IMLS “would look ‘very different’ following the

 President’s [Reduction] executive order and that it might be stripped ‘down to the

 studs.’” ECF No. 3-40 ¶ 6. Then on March 31, each office head within IMLS “met

 separately with their staff to inform them that the entirety of IMLS would be placed

 on admin[istrative] leave and that all grants would be terminated, with a potential

 exception of the Grants to States Program.” Id. ¶ 11. That same day all but twelve

 of IMLS’s staff of seventy-seven were placed on administrative leave. Id. ¶¶ 4, 13.

 Over a week later, IMLS terminated over 1,000 grants—and each termination notice




                                            23
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 24 of25
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1381



 stated that the grant was “‘no longer consistent with the agencies’ priorities’ and that

 the President’s March 14, 2025, executive order ‘mandates that the IMLS eliminate

 all non-statutorily required activities and functions.’” ECF No. 35-3 ¶ 5; see also ECF

 Nos. 35-5 at 10-11, 35-6 at 6-7, 35-8 at 5-20, 35-9 at 4-5 (notices of grant termination

 from IMLS to grantees in Maryland, New Jersey, Washington, and Wisconsin citing

 the Reduction EO and stating that the grant terminations were based, in part, on

 “the President’s March 14, 2025 executive order [that] mandates that the IMLS

 eliminate all non-statutorily required activities and functions.”).

       At MBDA, a RIF notice to one of its employees revealed the plan to “eliminate

 the non-statutory components and functions of MBDA”—that appeared to include

 “abolishing all positions within MBDA.” ECF No. 35-4 at 4. And that appears to

 have occurred, because all MBDA employees have either been placed on

 administrative leave with a slated termination date of May 9, 2025, or have been

 reassigned to positions outside the MBDA. Id. ¶¶ 5–6. A declaration from an MBDA

 employee also reveals that Nate Cavanaugh—an individual purporting to act under

 the authority of Acting MBDA Undersecretary Keith Sonderling—sent out notices

 informing MBDA grant recipients that their grants were being terminated effective

 April 17, 2025. ECF No. 45-1 ¶ 4. That employee has conveyed that “all preexisting

 MBDA grants were terminated pursuant to such notices.” Id. The States have

 provided copies of such notice of grant terminations from the MBDA, all which

 include boilerplate language explaining that the grants were being terminated, in

 part based on the “the President’s March 14, 2025 executive order [that] mandates




                                           24
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 25 of26
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1382



 that the MBDA eliminate all non-statutorily required activities and functions.”. See

 ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-7 at 2.

       Lastly, at the FMCS, staff has been cut from 207 to fifteen. ECF No. 3-42 ¶¶ 4-

 7. A letter from the Director of Human Resources indicates that the RIF implemented

 was “taken in accordance with President Donald Trump’s . . . Executive Order 14238

 [Reduction EO] of March 14, 2025.” Id. at 5. Further, FMCS circulated an internal

 memorandum citing the Reduction EO as among the “updated guidance” the agency

 received to implement a plan to perform “only statutory mandated functions.” ECF

 No. 1-4 at 2. And that memorandum also outlined “operational adjustments” to take

 effect immediately, stating that the agency: (1) will not accept new public sector and

 grievance mediation, and (2) should not schedule new in-person education, advocacy,

 and outreach meetings. Id. at 2-3.

       What the unrefuted evidence reveals is that, to comply with the Reduction EO,

 IMLS, MBDA, and FMCS each adopted a policy to eliminate all non-statutorily

 required activities and functions and reduce their statutory functions and personnel

 to the bare minimum—thereby taking an “agency action.” Bessent, 2025 WL 895326,

 at *13. And each of those agencies “consummat[ed] [their] decisionmaking process”

 upon adopting such policies as there is no evidence that these decisions to eliminate

 non-statutorily required activities and functions are “tentative or interlocutory.”

 Bennett, 520 U.S. at 178. Rather, as surmised above, the IMLS, MBDA, and FMCS

 made it explicitly clear in various memoranda, grant termination letters, and other

 documents that they were terminating grants, staff, and programs pursuant to their




                                            25
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 26 of27
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1383



 effort to “eliminate all non-statutorily required activities.”          Further, “legal

 consequences” flow from these decisions, as: (1) the States and other grant recipients

 no longer have access to previously award funds because of grant terminations and

 withheld or delayed disbursements; (2) the personnel necessary for these agencies to

 feasibly administer grant awards and payments to the States have been removed, en

 masse, and (3) FMCS, in particular, has stopped providing public sector services to

 the States. Accordingly, the Court finds that IMLS, MBDA, and FMCS have taken

 final agency actions subject to the Court’s review.

                     c. Arbitrary and Capricious

       Under the APA, a “reviewing court shall . . . hold unlawful and set aside agency

 action, findings, and conclusions found to be . . . arbitrary, capricious . . .” 5 U.S.C.

 § 706(2)(A). Agency action is arbitrary and capricious “if it is not reasonable and

 reasonably explained.”    Ohio v. E.P.A., 603 U.S. 279, 292 (2024) (citing FCC v.

 Prometheus Radio Project, 556 U.S. 502, 513 (2021)). While the scope of review under

 this standard is “narrow” and the Court may not “substitute its judgment for that of

 the agency,” the agency must still articulate a satisfactory explanation for its action

 including a ‘rational connection between the facts found and the choice made.’” Motor

 Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983)

 (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). That

 requirement is satisfied when the agency’s explanation is clear enough that its “path

 may reasonably be discerned.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221

 (2016) (citing Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281




                                            26
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 27 of28
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1384



 286 (1974)). But “where the agency has failed to provide even that minimal level of

 analysis, its action is arbitrary and capricious and so cannot carry the force of law.”

 Id.

       Here, there is an absence of any reasonable explanation from IMLS, MBDA,

 and FMCS. The Reduction EO—with which these agencies sought to comply through

 their challenged policies—stated that the “non-statutory components and functions”

 of IMLS, MBDA, and FMCS shall be “eliminated to the maximum extent consistent

 with applicable law.” 90 Fed. Reg. 13043 (Mar. 14, 2025). But the Defendants have

 not shown that any analysis was conducted to determine which “components and

 functions” of IMLS, MBDA, and FMCS are statutorily required, and which are not.

       For instance, in its letter apprising employees of their placement on

 administrative leave, IMLS merely indicated that “this action . . . is taken to facilitate

 the work and operations of the agency.” ECF No. 1-1 at 2; see also ECF No. 3-40 at

 4. And both MBDA and FMCS explained that the implementation of a RIF was being

 done in accordance with the Reduction EO—shortly before most of their employees

 were placed on administrative leave. See ECF No. 3-42 at 4-5; ECF No. 1-3 at 2.

 Further, in its memorandum announcing the cessation of its core programs, FMCS

 stated it was “required to perform only statutorily mandated functions” because of

 the mandates in the Reduction EO and other executive orders and guidance. See

 ECF No. 1-4 at 2. And, as the States point out, MBDA has not publicly acknowledged

 or even explained the removal of all its staff and the abrupt dismantling of its core

 programs. See ECF No. 3-41 ¶ 13 (indicating that MBDA has: (1) taken down grant




                                            27
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 28 of29
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1385



 solicitations for its Rural Business Center Program and Women Entrepreneurship

 Program, (2) eliminated its Minority Business Center Advisory Council, and (3)

 placed all staff responsible for its informational clearinghouse—“a statutorily

 mandated activity to collect and share data on minority business enterprises”—on

 administrative leave.).

       IMLS has also offered no further explanation for the termination of thousands

 of its grants other than stating that the grants are “no longer consistent with the

 agency’s priorities” and citing the Reduction EO’s mandate to “eliminate all non-

 statutorily required activities and functions.” See ECF Nos. 35-5 at 11; 35-6 at 7; 35-

 8 at 5-20; 35-9 at 5. And grant termination letters from MBDA provided the same

 anemic explanations, using nearly the same language that was used in the boilerplate

 IMLS grant termination letters. See ECF Nos. 45-2 at 4; 45-3 at 6, 7; 45-4 at 2; 45-5

 at 2; 45-6 at 2; 45-7 at 2 (“MBDA has determined that your grant is unfortunately no

 longer consistent with the agency’s priorities . . . [and] the President’s [Reduction EO]

 mandates that the MBDA eliminate all non-statutorily required activities and

 functions . . . Therefore, the MBDA hereby terminates your grant in its entirety . . .”).

       Recall that “[t]he APA requires a rational connection between the facts, the

 agency’s rationale, and the ultimate decision.” Nat’l Council of Nonprofits v. Off. of

 Mgmt. & Budget, No. 25-239 (LLA), 2025 WL 368852, at *11 (D.D.C. Feb. 3, 2025).

 Thus, conclusory statements do not “reasonably” explain agency action. See Amerijet

 Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (quoting Butte Cnty., Cal.

 v. Hogen, 613 F.3d 190, 194 (D.C. Cir. 2010)) (“[T]o this end, conclusory statements




                                            28
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 29 of30
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1386



 will not do; an ‘agency’s statement must be one of reasoning.’”). Here, the “rational

 connections” are absent, as IMLS’s, MBDA’s, and FMCS’s justifications for

 eliminating programs, terminating grants, and implementing large-scale employee

 RIFs have been couched in mere conclusory statements—most of which merely defer

 to the Reduction EO. There is no explanation about why the targeted programs or

 grants fell within the ambit of “non-statutory” functions or components.        Such

 conclusory explanations, “devoid of data or any independent explanation, [are]

 grossly insufficient and fall[] far short of reasoned analysis.” Widakuswara v. Lake,

 No. 25-CV-2390 (JPO), 2025 WL 945869, at *5 (S.D.N.Y. Mar. 28, 2025)

 (“Widakuswara I”).

       Additionally, ILMS, MBDA, and FMCS have failed to indicate that they

 considered any of the significant reliance interests of their program beneficiaries or

 grantees such as libraries, museums, business centers, contractors, labor unions,

 states, and local governments. See Dep’t of Homeland Sec. v. Regents of the Univ. of

 Cal., 591 U.S. 1, 30 (2020) (citations omitted) (“When an agency changes course, as

 [IMLS, MBDA, FMCS] did here, it must be cognizant that longstanding policies may

 have engendered serious reliance interests that must be taken into account. It would

 be arbitrary and capricious to ignore such matters.”). The States have presented

 compelling evidence that they rely on timely and continuous disbursements to

 continue operating several important programs and services. See, e.g., ECF No. 3-

 24 ¶¶ 18, 22 (New Mexico explaining that delay in disbursement of IMLS grant funds

 will prompt the delay, suspension, or reduction of interlibrary loan services); ECF




                                          29
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 30 of31
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1387



 No. 3-3 ¶ 27 (California State Librarian noting that “If we do not receive such

 disbursements/reimbursements [from IMLS], it will stop statewide and local public

 library programs immediately and before they can be completed, contracted services

 will be denied payment. Much-needed library services to Californians will cease.

 Money for the salary and benefits for a significant portion of the California State

 Library’s staff (34 positions) would be unavailable, and layoffs would ensue.”); ECF

 No. 3-10 ¶ 16 (“Any pause in funding would delay completion of client projects,

 resulting in clients losing access to capital and contracting opportunities, prevent new

 clients from accessing these services and resources, and may lead to loss of jobs.

 Delay would also eliminate our ability to fill key staff positions currently open, and

 would therefore terminate the ability to restore vital business activity by the Hawai‘i

 MBDA Business Center.”).

       Further, the States have supplied evidence underscoring how much they have

 depended on FMCS to provide mediation and conciliation services to solve non-federal

 public sector disputes and to prevent “prolonged labor disputes that could disrupt the

 provision of essential state services.” ECF No. 3-30 ¶¶11-13 (noting prolonged labor

 disputes pose risks to state services such as child welfare); see also ECF No. 3-32 ¶ 13

 (“If FMCS ceased to function in a meaningful way . . . Rhode Island would suffer from

 prolonged labor disputes that could disrupt transportation, healthcare, and other

 critical services throughout the State.”); ECF No. 3-26 ¶ 8.b n.1 (School District in

 Illinois required to seek emergency mediation services “after the Parties had spent

 five (5) months working with an FMCS mediator whose services suddenly ceased to




                                           30
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 31 of32
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1388



 be available” after the issuance of the Reduction EO); id. ¶¶ 18, 22 (explaining that

 FMCS mediators are “exceedingly competent and well-trained”; New Mexico will “not

 be able to replace those services in the near or medium term”). These examples show

 the significant reliance interests that IMLS, MBDA, and FMCS appeared not to

 consider when hastily adopting the mandates in the Reduction EO. “In light of the

 serious reliance interests at stake, [IMLS, MBDA, and FMCS’] conclusory statements

 do not suffice to explain [their] decision[s].” Encino Motorcars, 579 U.S. at 224.

       Accordingly, because IMLS, MBDA, and FMCS have not provided a rational

 connection between the sweeping actions they have taken and the vague, conclusory

 justifications they have provided, the Court finds that the States have established a

 strong likelihood of success on their arbitrary and capricious claims. Ohio, 603 U.S.

 at 292. Further, the Court finds that the States have illustrated a strong likelihood

 of success on their claims that IMLS, MBDA, and FMCS acted arbitrarily and

 capriciously in failing to consider reliance interests. Regents, 591 U.S. at 30; see also

 Smiley v. Citibank (S. Dakota), N.A., 517 U.S. 735, 742 (1996) (citations omitted)

 (“Sudden and unexplained change, . . . or change that does not take account of

 legitimate reliance . . . may be ‘arbitrary, capricious [or] an abuse of discretion.’”

                     d. Contrary to Law

       IMLS, MBDA, and FMCS also likely violated the APA, as their actions were

 “not in accordance with law.” 5 U.S.C. 706(2)(A).

                           i.   Actions Inconsistent with the Agencies’ Mandatory
                                Statutory Duties




                                             31
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 32 of33
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1389



       “Under Article II of the Constitution and relevant Supreme Court precedents

 the President [and subordinate executive agencies] must follow statutory mandates.”

 In re Aiken Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013). The Executive may not “decline

 to follow a statutory mandate or prohibition simply because of policy objections.” Id.

 Thus, “absent a lack of funds or a claim of unconstitutionality that has not been

 rejected by final Court order, the Executive must abide by statutory mandates and

 prohibitions.” Id. Here, the States have presented compelling evidence illustrating

 that IMLS, MBDA, and FMCS are flouting their statutory mandates in implementing

 the directives outlined in the Reduction EO.

       Starting with IMLS, Congress directed the agency to conduct regular research

 and data collection to “extend and improve the Nation’s museum, library, and

 information services.” 20 U.S.C. § 9108(a). Congress also tasked the agency with

 administering the Grants to States Program, see id. § 9141, which involves: (1)

 reviewing state plans from fifty-nine states and territories, id. §§ 9122(3), (5),

 9134(e)(1); (2) notifying jurisdictions of noncompliant plans and providing “technical

 assistance” to help bring such plans into compliance, id. § 9134(e)(3)(A), (C); (3)

 paying the “Federal share of the activities” described in approved state plans, id.

 § 9133(a), and monitoring state expenditures, id. § 9133(c).      Further, Congress

 charged IMLS with administering grant programs relating to the National Museum

 of African American History and Culture, 20 U.S.C. § 80r-5(b), and the National

 Museum of the American Latino, id. § 80u(f)(2). Congress also instructed IMLS to

 administer several competitive grant programs each year. Id. § 9165(a)(1)-(3) (Laura




                                          32
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 33 of34
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1390



 Bush 21st Century Librarian Program); id. § 9161 (Native American Library Services

 Grant Program); id. § 9162 (National leadership grants for libraries program).

       Before the large-scale RIF at the agency, IMLS carried out its responsibilities

 with seventy-seven employees—with thirty-five employees assigned mainly to

 administer the agency’s grants programs. ECF No. 3-40 ¶¶ 17-18. Nothing suggests

 that the twelve employees expected to be brought back from administrative leave will

 be able to fulfill IMLS’s wide-ranging statutory responsibilities. Id. ¶ 21. First, none

 of the returning twelve employees work in the IMLS’s Office of Research and

 Evaluation—which is the office primarily responsible for conducting the regular

 research and data collection that the statute requires IMLS to perform. Id. ¶ 22.

 Thus, with that office essentially defunct, there is no evidence that the agency will be

 able to perform its statutorily required regular research and data collection. See 20

 U.S.C. § 9108. Nor is there any indication that the twelve employees will be able to

 consider the large volume of new grant applications and administer any existing

 grants—especially because most of those twelve employees do not have experience

 with administering grants. ECF No. 3-40 ¶¶ 20-21.

       Regarding MBDA, Congress directed that the agency “shall” provide federal

 assistance awards and technical assistance to MBDA Business Centers, 15 U.S.C.

 § 9523(a)(3), and outlined the criteria the agency must use when awarding grants, id.

 § 9524. Congress also required MBDA to (1) “collect and analyze data” relating to

 minority business enterprises, id. § 9513(a)(1)(A); (2) conduct economic “research,

 studies, and surveys,” id. § 9513(a)(1)(B)(i); and (3) “provide outreach, educational




                                           33
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 34 of35
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1391



 services, and technical assistance” in at least five languages, id. § 9513(A)(1)(C).

 Congress also instructed MBDA to establish a “regional office . . . for each of the

 regions of the United States,” id. § 9502(e)(2)(A) and provided a list of duties those

 offices must perform, including outreach, cooperation with relevant private and

 government entities, and information-gathering, id. § 9502(e)(2)(B).

        But as of now, no employees appear to be currently working at MBDA. See

 ECF No. 35-3 ¶¶ 4-5. Thus, there is no one who can: (1) staff the “regional office for

 each of regions of the country” that MBDA is statutory required to have, see 15 U.S.C.

 § 9502(e)(2)(A); (2) monitor MBDA’s existing grants for compliance—if any still exist;

 or (3) timely award new grants, all of which used to be facilitated by a team of forty

 employees. See ECF No. 3-41 ¶¶ 10-12. MBDA has ceased performing many of its

 statutory duties, including: (1) posting new grant solicitations; (2) performing data

 collecting and sharing on minority business enterprises, and (3) undertaking required

 communications with MBDA centers. Id. ¶ 13; ECF No. 3-12 ¶ 17.

       Lastly, as to FMCS, Congress outlined that it is “the duty of the Service, in

 order to prevent or minimize interruptions of the free flow of commerce growing out

 of labor disputes, to assist parties to labor disputes in industries affecting commerce

 to settle such disputes through conciliation and mediation.” 29 U.S.C. § 173(a).

 Further, Congress directed FMCS to “make its conciliation and mediation services

 available in the settlement of” grievance disputes arising “arising over the application

 or interpretation of an existing collective-bargaining agreement.” Id. § 173(d). Yet

 FMCS has ceased its grievance mediation services as of March 14, 2025. See ECF




                                           34
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 35 of36
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1392



 No. 1-4 at 2 (“No new [Grievance Mediation (“GM”)] cases will be accepted. As of

 March 14, all GM cases should be complete.”). Further, with its substantial reduction

 of personnel from about 200 to fifteen, see ECF No. 3-42 ¶¶ 4-7, nothing suggests that

 FMCS’ remaining employees can continue to perform its statutory duties, see ECF

 No. 3-14 ¶ 11.

                            ii.   Violations of Each Agency’s Appropriations Statute

            The Constitution’s Appropriation Clause, U.S. Const. art. I, § 9, cl. 7, grants

 “Congress ‘exclusive power’ over federal spending.” Nat’l Council of Nonprofits v. Off.

 of Mgmt. & Budget, No. 25-239 (LLA), 2025 WL 368852, at *12 (D.D.C. Feb. 3, 2025)

 (quoting U.S. Dep’t of the Navy v. Fed. Lab. Rels. Auth., 665 F.3d 1339, 1346 (D.C.

 Cir. 2012)).     Without such exclusive power, “the [E]xecutive would possess an

 unbounded power over the public purse of the nation[ ] and might apply all its monied

 resources at his pleasure.” U.S. Dep’t of the Navy, 665 F.3d at 1347 (quoting 3 Joseph

 Story, Commentaries on the Constitution of the United States § 1342, at 213–14

 (1833)).

       By making laws, Congress has expressly restricted the Executive Branch from

 taking control of its appropriation powers. One such body of law is the Congressional

 Budget and Impoundment Control Act of 1974, 2 U.S.C. §§ 681 et seq., (“ICA”) which

 details the procedures the Executive must follow if it wishes to impound appropriated

 funds. For the permanent rescission of appropriated funds, Congress outlined that if

 the President “determines that all or part of any budget authority will not be required

 to carry out the full objectives or scope of programs for which it is provided or . . .




                                              35
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 36 of37
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1393



 should be rescinded for fiscal policy of other reasons,” the President must “transmit

 to both Houses of Congress a special message” that specifies the amount, effect,

 reasons, and other information relating to the proposed rescission. 2 U.S.C. § 683(a).

 The act also requires the funds proposed for rescission “be made available for

 obligation” unless, within forty-five days, Congress rescinds the appropriation. Id.

 § 683(b). And if the President wishes to defer appropriated funds, the ICA also

 outlines that process, which also involves sending a special message to Congress. Id.

 §§ 684(a), 682(1). Accordingly, while “a President sometimes has policy reasons . . .

 for wanting to spend less than the full amount appropriated by Congress for a

 particular project or program . . . the President does not have unilateral authority to

 refuse to spend the funds. Instead, the President must propose the rescission of

 funds, and Congress then may decide whether to approve a rescission bill.” In re

 Aiken Cnty, 725 F.3d at 261 n.1; see also City & Cnty. of San Francisco v. Trump,

 897 F.3d 1225, 1235 (9th Cir. 2018) (“Absent congressional authorization, the

 Administration may not redistribute or withhold properly appropriated funds in

 order to effectuate its own policy goals.”).

        Congress appropriated funds to IMLS, MBDA, and FMCS at the same levels

 as the previous fiscal years. But the records show that these agencies are rescinding

 or deferring appropriated funds and do not plan to spend them. For instance, it

 appears that all—or nearly all—preexisting grants that IMLS and MBDA administer

 have been terminated, see ECF Nos. 45-1 ¶ 4; 35-3 ¶ 5, to carry out the Reduction EO

 and other of the President’s undefined policy goals. See ECF Nos. 45-2 at 4; 45-3 at 6,




                                            36
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 37 of38
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1394



 7; 45-4 at 2; 45-5 at 2; 45-6 at 2; 45-7 at 2 (“MBDA has determined that your grant is

 unfortunately no longer consistent with the agency’s priorities . . . MBDA is

 repurposing its funding allocations . . . in furtherance of the President’s agenda.

 Independently and secondly, the President’s [Reduction EO] mandates that the

 MBDA eliminate all non-statutorily required activities and functions . . . Therefore,

 the MBDA hereby terminates your grant in its entirety . . .”); see also ECF Nos. 35-5

 at 10-11; 35-6 at 6-7; 35-8 at 5-20; 35-9 at 4-5 (same). As explained above, nothing

 suggests that the “skeleton” crew remaining at IMLS—which has only a small portion

 of personnel experienced with grant administration—will be able to administer

 disbursements of the millions of dollars in grant funds they are budgeted to award.

 See IMLS, FISCAL YEAR 2024 APPROPRIATIONS REQUEST TO THE UNITED STATES

 CONGRESS      4-6,   (Mar.    2023),    https://www.imls.gov/sites/default/files/2023-

 03/fy24cj.pdf (allocating over $250 million for grants and $20 million for

 administrative expenses). Nor is it clear how a crew of zero will be able to administer

 any of the grant funds MBDA is budgeted to award.           See MBDA, FISCAL YEAR

 2024                          CONGRESSIONAL                             JUSTIFICATION

 (Mar. 2023), https://www.commerce.gov/sites/default/files/2023-04/MBDA-FY2024-

 Congressional-Budget-Submission.pdf.

        As for FMCS, only fifteen employees remain and they must perform the work

 that over 200 employees previously performed. Thus, such a small group of personnel

 will expend only a fraction of what it would have otherwise spent to perform to its

 conciliation, arbitration, and mediation services with its previous staffing level. See




                                           37
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 38 of39
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1395



 FMCS, FISCAL YEAR 2024 CONGRESSIONAL BUDGET SUBMISSION, AT 23 (Mar. 13, 2023),

 https://www.fmcs.gov/wp-content/uploads/2023/03/2024-Congressional-Budget.pdf

 ($42.3 million out of $55 million budget request allocated to mediations, training,

 outreach, and workshops).

       As the States point out, the Reduction EO orders OMB to “reject funding

 requests” for IMLS, MBDA, and FMCS “to the extent they are inconsistent” with the

 mandate for these agencies to “eliminate non-statutory components and functions”

 and “reduce the performance of their statutory functions and associated personnel.”

 90 Fed. Reg. 13043 (Mar. 14, 2025). Thus, the Reduction EO practically proscribes

 these agencies from increasing expenditures elsewhere to make up for these cuts in

 spending, considering its mandate to reduce these agencies’ functions and activities

 to the bare minimum. But Congress made clear that it wanted to appropriate funds

 to IMLS, MBDA, and FMCS so they may operate at the same level as the previous

 fiscal year. And the Executive does not have the “unilateral authority to refuse to

 spend the funds.” In re Aiken Cnty, 725 F.3d at 261 n.1. Thus, if the Executive does

 wish to rescind or defer funds appropriated to an agency, they are in luck, as the ICA

 sets forth clear procedures to facilitate that process under congressional oversight. 2

 U.S.C. §§ 681–688. But that process was not facilitated here. Rather, IMLS, MBDA,

 and FMCS took actions that essentially directed the rescission of funds to fulfill the

 President’s policy—with congressional authorization glaringly absent.

       The Court therefore finds that the States are likely to succeed in establishing

 that IMLS, MBDA, and FMCS violated the APA by acting “not in accordance” with




                                           38
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 39 of40
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1396



 their respective statutory mandates and congressional appropriations acts when

 effectively absconding their statutory mandates by terminating core services and

 grant programs.

              2. Separation of Powers and Take Care Clause Claims

       Under the Constitution, the President is required “take Care that the Laws be

 faithfully executed,” U.S. Const. art. II, § 3, “across the entire Executive Branch—

 including ‘independent’ agencies.” Eng. v. Trump, 279 F. Supp. 3d 307, 327 (D.D.C.

 2018) (citing Free Enter. Fund v. PCAOB, 561 U.S. 477, 496–97 (2010)).

 “And because federal agencies are ‘creatures of statute,’ and ‘the Take Care Clause

 cannot be used to bypass agencies’ limited status as creatures of statute, [they]

 possess only the authority that Congress has provided them.’” Widakuswara II, 2025

 WL 1166400, at *15 (quoting Marin Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th

 902, 914 (D.C. Cir. 2024)).

       Here, IMLS, MBDA, and FMCS were created by Congress via statutes that

 granted each a comprehensive set of statutory responsibilities.         See Labor

 Management Relations Act, 1947, Pub. L. No. 80-101, § 202 (establishing FMCS);

 Museum and Library Services Act of 1996, Pub. L. 104-208, 110 Stat. 3009

 (establishing IMLS); and Minority Business Development Act of 2021, Infrastructure

 Investment and Jobs Act, Pub. L. 117-58, div. K (Nov. 15, 2021) (authorizing MBDA).

 And Congress, a mere day after the Reduction EO’s issuance, passed a statute that

 appropriated funds to these three agencies.    See Continuing Appropriations Act

 § 1101(a)(2), (8). But Defendants’ acts “[w]ithholding congressionally appropriated




                                         39
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 40 of41
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1397



 funds, and effectively shuttering a congressionally created agency simply cannot be

 construed as following through on [the] constitutional mandate [of the Take Care

 Clause].” Widakuswara II, 2025 WL 1166400, at *15.

       Intertwined with the Take Care Clause claim, the States assert that the

 Defendants’ actions “violate[] the constitutional separation of powers.” ECF No. 3

 at 33. Article I of the Constitution grants to the legislative branch, the exclusive

 power to make law, U.S. Const. art. I, § 1, and the power of the purse, id. § 8, cl. 1.

 As for the Executive, “[t]here is no provision in the Constitution that authorizes the

 President to enact, to amend, or to repeal statutes.” Clinton v. City of New York, 524

 U.S. 417, 438 (1998).     By issuing the Reduction EO—which effectively directs

 withholding the funds that Congress recently statutorily appropriated to IMLS,

 MBDA, and FMCS, resulting in the cessation of several of their programs, see

 supra—the Executive is usurping Congress’s: (1) power of the purse, by disregarding

 congressional appropriations; and (2) vested legislative authority to create and

 abolish federal agencies. See Widakuswara I, 2025 WL 945869, at *7 (finding that

 the Executive usurped Congress’s power of the purse and “legislative supremacy” in

 violation of the Constitution’s implicit separation of powers principles when

 “withholding funds statutorily appropriated to full administer” a federal agency).

       Thus, the States have established a likelihood of success on their claims that

 the Defendants violated the Take Care Clause and constitutional separation of

 powers.




                                           40
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 41 of42
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1398



       C. Irreparable Harm

       “District courts have broad discretion to evaluate the irreparability of alleged

 harm and to make determinations regarding the propriety of injunctive relief.” K–

 Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir. 1989) (quoting Wagner

 v. Taylor, 836 F.2d 566, 575–76 (D.C. Cir. 1987)). There are “relevant guideposts” to

 guide that discretion—“the plaintiff’s showing must possess some substance” and “the

 predicted harm and the likelihood of success on the merits must be juxtaposed and

 weighed in tandem.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19

 (1st Cir. 1996) (citations omitted). The Court finds that the States have demonstrated

 irreparable and continuing harm from the Defendants’ de facto dismantling of IMLS,

 MBDA, and FMCS.

       The States have presented a plethora of declarations illustrating the myriad of

 harms arising from the undoing of IMLS. The New Jersey Library “issued stop work

 orders” and will not be able to work on project developing tools to teach informational

 literacy to K-12 students due to terminated IMLS grant funding. ECF No. 35-6 ¶¶ 7-

 8. The New York State Library described that a delay in funding from IMLS will

 cause it to “immediately . . . halt services and implement a hiring freeze.” ECF No. 3-

 27 ¶ 29, 42. And the loss of data from IMLS’s Public Library Survey would “represent

 the loss of decades of information that is critical for community development and

 planning.” Id. ¶ 35. The California State Library will have to “stop statewide and

 local public library programs immediately and before they can be completed,” “deny

 payments for contracted services, and initiate layoffs if it does not receive IMLS




                                           41
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 42 of43
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1399



 disbursements and reimbursements.” ECF No. 3-3 ¶ 10, 32. Loss of IMLS funding

 will also diminish or halt the California State Library’s programs “targeted to seniors,

 veterans and English learners” and services to the “blind and visually impaired.” Id.

 ¶ 31.    Maryland’s state-operated Banneker-Douglass-Tubman Museum delayed

 portions of an archaeological project because of the uncertainty surrounding IMLS

 funding. ECF No. 3-13 ¶¶ 9, 14.

         For Maryland’s Entrepreneurial Development and Assistance Center, the

 delay or loss in MBDA funding will halt: (1) “essential programs” such as

 “entrepreneurship education” and “one-on-one business guidance,” and (2) “access to

 resources like the content library for continued learning.” ECF No. 3-16 ¶ 12.

 Baltimore MBDA Advance Manufacturing Center—which provides comprehensive

 technical assistance to help minority manufacturing businesses adopt innovative

 technologies and business methodologies—will suffer “immediate service impacts”

 related to such technical assistance if there is a pause in MBDS funding. ECF No. 3-

 12 ¶¶ 9, 16.

         University of Wisconsin System Office of Business & Entrepreneurship will

 have to “cancel any upcoming training and accelerator services for participants

 already enrolled and expecting these services” due to termination of MBDA grant

 award. ECF Nos. 3-37 ¶ 23; 45-2 at 4. The University of Hawai‘i Maui College—

 which receives MBDA funding to provide entrepreneurship training to students—will

 have to eliminate “training courses, coaching and mentoring support services, and

 curriculum development” and will lose “three grant program staff” due to the




                                           42
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 43 of44
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1400



 termination of their MBDA grant. ECF Nos. 3-11 ¶¶ 13, 20; 45-4 at 2. Arizona’s

 MBDA Business Center will close due to the termination of their MBDA grant and

 therefore will no longer provide pertinent services to Arizona businesses that aided

 in access to capital, access to markers, and market research. ECF No. 45-3 ¶¶ 1, 4.

 Further, the Center will have to terminate ten employees and release twenty

 contractors without notice. Id. ¶ 5.

       As to the FMCS, the Defendants do not dispute that the agency has completely

 stopped their public sector services. And it is undisputed that the States often rely

 on FMCS for their conciliation and mediation services to resolve public sector labor

 disputes. Such services are not easily replicable. To start, the use of FMCS’s services

 is embedded in some states’ laws, see, e.g., ECF No. 3-26 ¶ 6 (New Mexico), and forty-

 two states have collective bargaining agreements with specific provisions that either

 allow or mandate the use of FMCS’s services “in labor-management relations.” See

 ECF No. 3-39 ¶¶ 7-8. And States opt to request FMCS’s assistance because it is a

 well reputed, trustworthy, experienced neutral entity that is fluent in providing

 services that are “critical for resolving labor disputes” and “promot[ing] confidence in

 the decision-makers and the dispute resolution process.” ECF No. 3-14 ¶ 10; see ECF

 No. 3-26 ¶¶ 18, 22 (describing FMCS mediators as “exceedingly competent and well-

 trained” and noting that New Mexico will not be able to replace FMCS’s services “in

 the near or medium term”). FMCS’s mediation services have been critical in averting

 prolonged labor disputes which posed significant disruption to essential services such

 as transportation, healthcare, and child welfare. See ECF Nos. 3-30 ¶¶ 11-13; 3-32




                                           43
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 44 of45
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1401



 ¶ 13.    And the record shows that circumscribing FMCS significantly reducing

 personnel and ceasing their core public sector and grievance programs has set the

 stage for ongoing and imminent harms.

         For example, the New Mexico Public Employee Labor Relations Board had

 eight pending cases at the time the Reduction EO was issued in which the parties

 “hoped to obtain FMCS mediation services” due to the lack of other services that not

 only could provide mediation for free or a reduced fee but also supply the specialized

 substantive knowledge on labor relations that FMCS mediators possessed. ECF

 No. 3-26 ¶¶ 21-22. Additionally, the Associated Federation of State County and

 Municipal Employees, AFL-CIO (“AFSCME”)—a private and public sector union that

 uses FMCS for handling grievances concerning the States’ public employees—

 attested to having multiple pending mediations in which the parties were using

 FMCS services. See ECF No. 3-39 ¶¶ 9, 20-22. But the abrupt layoff of FMCS

 personnel due to the Reduction EO, prompted “the immediate cessation of all FMCS

 assistance in the mediation of labor management dispute in the public and private

 sector.” Id. ¶ 23. Now, AFSCME unions representing public sector employees in the

 States must “find and utilize other more costly and time expansive method to resolve

 disputes,” and labor disputes that are “more likely to result in work disruptions” with

 this discernable path to mediation now gone. Id.

         In Illinois, a school district spent five months working with an FMCS mediator

 for a negotiation impasse in a labor dispute until those mediation services abruptly

 stopped after the issuance of the Reduction EO. ECF No. 3-26 ¶ 8.b n.1. Now, the




                                           44
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 45 of46
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1402



 affected union has issued an intent to strike if the labor dispute is not resolved by

 early April, id., and it is unclear whether such disputes have been resolved. In Rhode

 Island, the United Nurses & Allied Professionals (UNAP) and Brown University

 Health was assigned a FMCS mediator after the parties reached a negotiation

 impasse relating to new collective bargaining agreements for about 2,5000 healthcare

 workers employed at the state’s only Level One Trauma Center—Rhode Island

 Hospital. ECF No. 44-2 ¶¶ 8-10. That assigned mediator appeared at the first

 session, but before the session began the mediator informed the parties that he was

 no longer able to mediate the parties’ negotiation because he was placed on

 administrative leave under the Reduction EO.        Id. ¶ 11.   The UNAP collective

 bargaining agreement with Brown University Health has now expired and the loss of

 FMCS’s mediation services has “dramatically increased the risk of an imminent work

 stoppage—with life-and-death consequences—at the busiest medical center in the

 region.” Id. ¶ 15.

       These are just a few key examples of how the implementation of the Reduction

 EO at IMLS, MBDA, and FMCS has disrupted numerous critical state library and

 museum services and programs, impeded the resolution of time-sensitive labor

 disputes involving State entities, and curtailed broad-ranging training, consultation,

 and technical assistance services and programs that facilitate the growth of minority

 business enterprises. Accordingly, the Court finds that the States have established

 a likelihood of success on their claims of irreparable harm arising from the

 Defendants’ actions here.




                                          45
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 46 of47
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1403



           D. Balance of the Equities and Public Interest

           The final two preliminary injunction factors—balance of the equities and

 public interest—“merge when the Government is the opposing party.”             Nken v.

 Holder, 556 U.S. 418, 435 (2009). When weighing these factors, the Court “must

 balance the competing claims of injury and must consider the effect on each party of

 the granting or withholding of the requested relief ... pay[ing] particular regard for

 the public consequences” that would result from granting the emergency relief

 sought. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (quotation marks

 and citations omitted). Here, the two factors weigh strongly in favor of equitable

 relief.

           The States have set forth a plethora of injuries that would arise if the Court

 does not grant injunctive relief. See supra Section III.C. On the flip side, the

 Defendants assert that granting the injunctive relief the States request would

 “effectively disable several federal agencies, as well as the President himself, from

 implementing the President’s priorities consistent with their legal authorities.” ECF

 No. 41 at 37.      They also assert harm from disbursing funds that “may not be

 retrievable afterwards.” Id. As the Court explained, the Defendants’ implementation

 of the Reduction EO has effectively usurped Congress’s lawmaking and spending

 authority—without constitutional or statutory authority permitting them to do so.

 And there is “generally no public interest in the perpetuation of unlawful agency

 action.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). Thus,

 the Court finds that “there is no competing harm to the government with the issuance




                                             46
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 47 of48
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1404



 of preliminary relief that orders compliance with governing statutes and the

 Constitution.” Widakuswara II, 2025 WL 1166400, at *17. In fact, the “substantial”

 public interest lies “‘in having governmental agencies abide by the federal laws that

 govern their existence and operations.’” Newby, 838 F.3d at 12 (quoting Washington

 v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994)). Thus, the Court finds that these final

 two factors weigh in favor of granting a preliminary injunction.

       E. Bond

       Federal Rule of Civil Procedure 65(c) provides that a court may issue a

 preliminary injunction if “the movant gives security in an amount that the court

 considers proper to pay the costs and damages sustained by any party found to have

 been wrongfully enjoined or restrained.” But that rule “has been read to vest broad

 discretion in the district court to determine the appropriate amount of an injunction

 bond, including the discretion to require no bond at all.” Woonasquatucket River

 Watershed Council v. U.S. Dep’t of Agric., No. 1:25-CV-00097-MSM-PAS, 2025 WL

 1116157, at *24 (D.R.I. Apr. 15, 2025) (citations omitted). Generally, “[a] bond ‘is not

 necessary where requiring [one] would have the effect of denying the plaintiffs their

 right to judicial review of administrative action.’” Nat’l Council of Nonprofits v. Office

 of Mgmt. and Budget, No. 25-239 (LLA), 2025 WL 597959, at *19 (D.D.C. Feb. 25,

 2025) (quoting Nat. Res. Def. Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C.

 1971)).

       Here, the Defendants request that the Court impose a bond against the States

 that is “commensurate with the scope of any such order.” ECF No. 41 at 37. The




                                            47
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 48 of49
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1405



 Defendants assert that the States are seeking “the disbursement of grant funds” and

 thus the Court should order them to post a bond equal to the size of “any payment

 that the Court orders on a preliminary basis” because without such a bond, “there

 may be no way to recover the funds lost to United States taxpayers if the Court were

 later to find that the Defendants were ‘wrongfully enjoined.’” Id. But requiring the

 States to pay a bond equal to the grant disbursements at issue would impose a

 significant financial barrier to their ability to raise these challenges to the

 Defendants unlawful decisions withholding these grant disbursements. The States

 have attested that they would need to cut or terminate critical services and lay off

 staff because of such a loss of federal funding. See, supra Section III.C. Thus,

 requiring them to pay a bond in an amount equal to that loss of federal funding—via

 withheld grant disbursements—would impose the same imminent harm that this

 preliminary injunction aims to avoid and thus, would deny the States’ right to judicial

 review here. Nat’l Council of Nonprofits, No. 25-239 (LLA), 2025 WL 597959, at *19

 (D.D.C. Feb. 25, 2025).

       Nor has the Government shown that it would be unable to recover any funds

 disbursed because of the injunctive relief entered here. Such a claim is dubious

 considering that “the Government has various legal mechanisms to recoup these

 kinds of funds.” California, 145 S. Ct. at 974 (Jackson, J., dissenting); see, e.g., 2

 C.F.R. § 200.346; see also 2 C.F.R. § 3187.2 (indicating that “the Uniform

 Administrative Requirements, Cost Principles, and Audit Requirements for Federal




                                           48
Case Case
     1:25-cv-00128-JJM-LDA
          1:25-cv-10814-WGY Document
                             Document57103-1
                                          Filed Filed
                                                05/06/25
                                                      05/07/25
                                                            PagePage
                                                                 49 of50
                                                                       49of
                                                                          PageID
                                                                            50   #:
                                    1406



 Awards set forth in 2 CFR part 200 shall apply to awards from funds appropriated to

 [IMLS].”). Accordingly, the Court declines to impose a bond against the States.

 IV.   PRELIMINARY INJUNCTION5

       For all these reasons, the Court finds based on the record evidence before it

 that a preliminary injunction is appropriate and necessary. The States shall prepare

 and submit to the Court a preliminary injunction form order, after consultation with

 the Defendants.

       Additionally, because of the finding of likelihood of success by the States and

 the large-scale irreparable harm that would occur without the preliminary injunction,

 the Court DENIES the Defendants’ request to stay this Order for seven days. See

 ECF No. 41 at 38.



 IT IS SO ORDERED.



 /s/ John J. McConnell, Jr.
 John J. McConnell, Jr.
 Chief Judge
 United States District Court

 May 6, 2025




       5  This Order binds Defendants’ officers, agents, employees, attorneys, and
 other persons who are in active concert or participation with anyone described in Rule
 65(d)(2)(A) or (B). Fed. R. Civ. P. 65(d)(2).

                                          49
